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1                                        THE HONORABLE JOHN C. COUGHENOUR
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7                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
8                                     AT SEATTLE
9    UNITED STATES OF AMERICA,                  )
                                                )       CASE NO.CR05-0393C
10                               Plaintiff,     )
                                                )
11                 v.                           )       ORDER OF CONTINUANCE
                                                )
12   KIRANPAL SANDHU,                           )
     TAI DANG, and                              )
13   ANTHONY DAO,                               )
                                                )
14                            Defendants.       )
                                                    )
15

16          The Court having reviewed the stipulated motion by the United States and
17   defendants KIRANPAL SANDHU, TAI DANG, and ANTHONY DAO to continue the
18   trial date, and having reviewed the records and files herein, makes the following findings
19   and enters the following order:
20          The Court finds that pursuant to 18 U.S.C. §3161(h)(8)(A) and §3161(h)(8)(B)(I),
21   (ii) and (iv), the ends of justice served by continuing the trial date from June 7, 2006 to
22   August 14, 2006, outweigh the best interests of the public and the defendants in a speedy
23   trial. This matter is complex due to the number of defendants involved and it is therefore
24   unreasonable to expect the parties to adequately prepare for trial before August 14, 2006.
25   Additionally, failure to grant a continuance to August 14, 2006 would deny the
26   defendants the time necessary for effective preparation, taking into account the exercise
27   of due diligence, and would result in a miscarriage of justice.
28          IT IS HEREBY ORDERED that trial in this matter is continued from

     Order to Continue Trial Date/
     SANDHU, et al/CR05-393JCC — 1                                                 UNITED STATES ATTORNEY
                                                                                    700 Stewart Street, Suite 5220
                                                                                   Seattle, Washington 98101-1271
                                                                                            (206) 553-7970
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1    June, 2006 to August 14, 2006 at 9:30 a.m. Defendants SANDHU, DANG, and DAO

2    shall file waivers of speedy trial no later than May 31, 2006.

3           IT IS FURTHER ORDERED that, for purposes of computing the time limitations

4    imposed by the Speedy Trial Act, 18 U.S.C. §§ 3161-3164, the period of delay from

5    June 17, 2006, up to and including August 14, 2006, is excludable time pursuant to

6    18 U.S.C. § 3161(h)(8)(B)(iv).
            DATED this 26th day of May, 2006.



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                                               UNITED STATES DISTRICT JUDGE
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13   Presented by:
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15
      /s Jill Otake  ___________
     JILL OTAKE, WA Bar # 28298
16   Assistant United States Attorney
17

18
     s/ Bob W. Goldsmith*
     BOB W. GOLDSMITH, WSBA # 12265
19   Attorney at Law,
20

21   s/ Lee A. Covell*
     LEE A. COVELL, WSBA # 952
22   Attorney at Law,
23

24   s/ Jennifer Cannon-Unione*
     JENNIFER CANNON-UNIONE, WSBA # 27008
25   Dixon & Cannon,
26

27   *Electronically signed pursuant to Email authorization.

28

     Order to Continue Trial Date/
     SANDHU, et al/CR05-393JCC — 2                                              UNITED STATES ATTORNEY
                                                                                 700 Stewart Street, Suite 5220
                                                                                Seattle, Washington 98101-1271
                                                                                         (206) 553-7970
